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 10                       UNITED STATES DISTRICT COURT
 11                     SOUTHERN DISTRICT OF CALIFORNIA
 12
 13     CAMILA S. RUVALCABA,                            Case No. 15-cv-00744-BAS-DHB

 14                                  Plaintiff,         ORDER:

 15                                                     (1) DISMISSING WITHOUT
              v.                                        PREJUDICE OCWEN’S STATE
 16                                                     LAW CROSS-CLAIMS AGAINST
        OCWEN LOAN SERVICING, LLC,                      EQUITY
        et al.,
 17                                                     (2) TERMINATING AS MOOT
                                  Defendants.           EQUITY’S MOTION FOR
 18                                                     JUDGMENT ON THE
 19                                                     PLEADINGS [ECF No. 204 ]
        AND RELATED CROSS-CLAIMS
 20
 21
 22         Pending before the Court is Cross-Defendant Equity Title Company’s
 23   (“Equity”) motion for judgment on the pleadings as to Cross-Plaintiff Ocwen Loan
 24   Servicing LLC’s (“Ocwen”) state law cross-claims for equitable indemnity,
 25   contribution, apportionment of fault, and declaratory relief. (ECF No. 204.) Ocwen
 26   has opposed (ECF No. 207) and Equity has replied (ECF No. 209). The Court,
 27   however, concludes that it is proper to decline to exercise supplemental jurisdiction
 28   over Ocwen’s state law cross-claims, as a matter of its discretionary authority to do
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                                                                                   15cv744
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  1   so. Declining to exercise supplemental jurisdiction moots Equity’s motion for
  2   judgment on the pleadings.
  3                                          DISCUSSION
  4         Ocwen’s state law cross-claims are expressly premised on this Court’s exercise
  5   of supplemental jurisdiction. (ECF No. 111 ¶8 (“This Cross-Claim against CROSS-
  6   DEFENDANTS and RUVALACABA are supplemental to the main action and arise
  7   out of the same transaction/property alleged in the main action and jurisdiction is
  8   proper under 28 USC §1367(a).”). After Equity moved for judgment on the pleadings
  9   as to Ocwen’s state law cross-claims, the Court dismissed with prejudice Plaintiff
 10   Camila Ruvalcaba’s federal and state law claims against Ocwen on February 12,
 11   2018. (ECF No. 206.) The Court has therefore dismissed all claims over which it
 12   has original jurisdiction. Moreover, Owen’s state law cross-claims against Equity are
 13   the only claims remaining in this litigation. (ECF Nos. 201, 206.)
 14         “[W]here a district court has dismissed all claims over which it has original
 15   jurisdiction, it may sua sponte decline to exercise supplemental jurisdiction over
 16   remaining state law claims.” Andrews v. Wash. State Dep’t of Soc. & Health Servs.,
 17   No. C15-5871BHS, 2017 WL 320621, at *1 (W.D. Wash. Jan. 23, 2017) (alterations
 18   in original) (quoting Sikhs for Justice “SFJ”, Inc. v. Facebook, Inc., 144 F. Supp. 3d
 19   1088, 1096 (N.D. Cal. 2015)); see also Acri v. Varian Assocs., Inc., 114 F.3d 999,
 20   1001 n.3 (9th Cir.), supplemented, 121 F.3d 714 (9th Cir. 1997), as amended (Oct. 1,
 21   1997). District courts may decline to exercise supplemental jurisdiction if: (1) the
 22   claim raises a novel or complex issue of state law; (2) the state law claim substantially
 23   predominates over the federal claim; (3) the district court has dismissed all claims
 24   over which it has original jurisdiction; or (4) if there is some other exceptional and
 25   compelling reason to decline jurisdiction. See 28 U.S.C. §1367(c). In deciding
 26   whether to exercise supplemental jurisdiction, the court should consider the interests
 27   of judicial economy, convenience, fairness and comity. City of Chi. v. Int’l College
 28   of Surgeons, 522 U.S. 156, 173, (1997); Smith v. Lenches, 263 F.3d 972, 977 (9th
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  1   Cir. 2001).
  2          “[I]n the usual case in which all federal-law claims are eliminated before trial,
  3   the balance of factors to be considered under the pendent jurisdiction doctrine—
  4   judicial economy, convenience, fairness, and comity—will point toward declining to
  5   exercise jurisdiction over the remaining state-law claims.” Sanford v. MemberWorks,
  6   Inc., 625 F.3d 550, 561 (9th Cir. 2010). These factors point toward declining to
  7   exercise supplemental jurisdiction because exercising jurisdiction would neither
  8   promote judicial economy nor convenience to the parties because the cross-claims
  9   have not progressed beyond the pleading stage. Further investment of judicial energy
 10   does not justify the retention of jurisdiction over Ocwen’s state law cross-claims. See
 11   Otto v. Heckler, 802 F.2d 337, 338 (9th Cir. 1986) (“[T]he district court, of course,
 12   has the discretion to determine whether its investment of judicial energy justifies
 13   retention of jurisdiction or if it should more properly dismiss the claims without
 14   prejudice.” (citation omitted)); Pugh v. Wells Fargo Bank, N.A., No. 2:13-cv-01617-
 15   GEB-DAD, 2013 WL 5673469, at *4 (E.D. Cal. Oct. 17, 2013).                   Moreover,
 16   “[n]eedless decisions of state law should be avoided both as a matter of comity and
 17   to promote justice between the parties, by procuring for them a surer-footed reading
 18   of applicable law.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966);
 19   Madhvamuni K Das v. WMC Mortg. Corp., No. 10-cv-00650-LHK, 2012 WL
 20   1657111, at *10 (N.D. Cal. May 10, 2012). Having dismissed all claims over which
 21   it had original jurisdiction and finding that the relevant factors point toward declining
 22   to exercise supplemental jurisdiction, the Court concludes that it is proper to decline
 23   to exercise supplemental jurisdiction over Ocwen’s remaining state law cross-claims
 24   against Equity under Section 1367(c)(3).
 25                                   CONCLUSION & ORDER
 26         For the foregoing reasons, the Court DECLINES to exercise supplemental
 27   jurisdiction over Ocwen’s state-law cross claims against Equity (ECF No. 111) and
 28   DISMISSES WITHOUT PREJUDICE the cross-claims.                         With no claims
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  1   remaining in this litigation, the Clerk of the Court is directed to close the case. The
  2   Court further TERMINATES AS MOOT Equity’s motion for judgment on the
  3   pleadings. (ECF No. 204.)
  4         IT IS SO ORDERED.
  5   DATED: March 8, 2018
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